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                      EXHIBIT 4
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 1                                                                The Honorable Robert J. Bryan
 2

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 7

 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT TACOMA
10   CHAO CHEN, individually and on behalf of all          No. 17-cv-05769-RJB
     those similarly situated,
11                                                         DEFENDANT THE GEO GROUP, INC.’S
                    Plaintiff,                             RESPONSES TO PLAINTIFF CHAO
12                                                         CHEN’S FIRST INTERROGATORIES
            v.                                             AND REQUESTS FOR PRODUCTION
13
     THE GEO GROUP, INC., a Florida
14   corporation
15                  Defendant.
16
17
                  THE GEO GROUP, INC’S RESPONSES TO PLAINTIFF’S FIRST
18                 INTERROGATORIES AND REQUESTS FOR PRODUCTION
19          Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure (“Fed. R. Civ.

20   P.”) and the Local Rules of the U.S. District Court for the Western District of Washington (the

21   “Local Rules”), Defendant The GEO Group, Inc. (“GEO”) hereby responds and objects to

22   Plaintiff’s First Interrogatories and Requests for Production.

23                     OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

24          GEO objects to Plaintiff’s definition of “class members” in paragraph 1.b. as inapplicable.

25   There has been no class certification in this case and, therefore, no “class” exists. GEO will only

26   respond to Plaintiff’s First Interrogatories and Requests for Production to the extent that it

27   concerns the sole named Plaintiff in this case, Chao Chen.
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                     Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                 1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR                                       Fircrest, WA 98466
     PRODUCTION                                                                    253-566-2510 ph
                                                                               joan@3brancheslaw.com


                                                                                          Whitehead Decl., Ex. 4 - 1
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1           GEO objects to Plaintiff’s definition of “class period” in paragraph 1.c. as inapplicable.
2    There has been no class certification in this case and, therefore, no “class” exists. GEO will only
3    respond to Plaintiff’s First Interrogatories and Requests for Production to the extent that it
4    concerns the period during which the sole named Plaintiff in this case, Chao Chen, was at the
5    Northwest Detention Center (“NWDC”).
6           GEO objects to Plaintiff’s definition of “Defendant,” “You,” and “Your” in paragraph 1.e
7    as outside the scope of discovery as defined by Fed. R. Civ. P. 26(b)(1) to the extent that the
8    request seeks information relating to persons or entities that are separate and distinct from GEO
9    and whom GEO has no legal right to control. GEO further objects to these definitions to the
10   extent that the request includes GEO attorneys and, therefore, improperly seeks information
11   protected by the attorney-client privilege, the work product doctrine, the common interest
12   privilege, and/or any other applicable privileges or immunities.
13          GEO objects to Plaintiff’s definition of “describe in detail” in paragraph 1.f. as unduly
14   burdensome and not proportional to the needs of the case to the extent that it would require GEO
15   to describe “every aspect of every fact, circumstance, act, omission, or course of conduct” known
16   to it about any request made by the Plaintiff. GEO will make a reasonable effort to answer
17   interrogatories with detail determined after a reasonable inquiry. Likewise, GEO objects to
18   identifying “each person present or connected with, or who has knowledge of the matter inquired
19   about” as unduly burdensome, overly broad, and not proportional to the needs to the case. GEO
20   will make a reasonable effort to identify persons with knowledge of the matter inquired about to
21   the extent such inquiry is proportional and relates to the claims and defenses in the case. Finally,
22   GEO objects to this definition as inapplicable to requests for production, as GEO is under no
23   obligation to describe the documents that it produces. Subject to and without waiving GEO’s
24   objections, GEO will make a reasonable effort to describe the requested information to the extent
25   the requests are proportional and relate to the claims and defenses in this case.
26          GEO objects to Plaintiff’s definition to “document” in paragraph 1.h. to the extent that it
27   would exceed the definition of “document” under the Federal Rules of Civil Procedure. GEO
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
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     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                 1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR           -2-                         Fircrest, WA 98466
     PRODUCTION.                                                                   253-566-2510 ph
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                                                                                         Whitehead Decl., Ex. 4 - 2
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1    defines “document” according to its definition in Fed. R. Civ. P. 34(a)(1)(A). GEO further
2    objects to the definition to the extent that it includes “documents in another’s possession.” GEO
3    will only produce documents of entities over which it has a legal right to control.
4            GEO objects to Plaintiff’s definition of “ICE” (Immigrations and Customs Enforcement)
5    in paragraph 1.i as overly broad. GEO defines ICE only to include the agency of the United
6    States Department of Homeland Security, ICE employees, and any other persons or entities
7    reasonably known to be acting on behalf of or under the direction, authorization, or control of
8    ICE.
9            GEO objects to Plaintiff’s definitions of “Identify” included in paragraphs 1.j. through 1.l.
10   as unduly burdensome because the level of detail requested may not be possible to provide where
11   there is not documentary information upon which to rely or is not attainable following a
12   reasonable inquiry. Subject to and without waiving GEO’s objections, GEO will make a
13   reasonable effort to identify natural persons, entities, documents, or conversations in its responses
14   to Plaintiff’s First Interrogatories.
15           GEO objects to Plaintiff’s definition of “refers to” and “relates to” as overly broad, unduly
16   burdensome, and not proportional to the needs of the case as terms like “evidence” “bear upon,”
17   “undercut,” and others listed are not synonymous with the terms “refers to” and “relates to.”
18   Instead, Plaintiff seeks to expand the defined terms beyond their standard American usage.
19   Furthermore, terms used to define “refers to” and “relates to” are vague and ambiguous. GEO
20   will define the terms “refers to” and “relates to” according to their standard American usage and
21   reasonably interpret them based on their context as used in Plaintiff’s First Interrogatories and
22   Requests for Production.
23           GEO objects to Plaintiff’s definition of “Voluntary Work Program” to the extent the
24   program involves monetary compensation. Detainees at NWDC receive an allowance of $1 per
25   day for work activity performed as part of the Voluntary Work Program.
26           GEO objects to Instruction 2 to the extent that Plaintiff seeks information and the
27   production of documents outside of the possession, custody, or control of the named party, GEO,
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     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR          -3-                         Fircrest, WA 98466
     PRODUCTION.                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com

                                                                                        Whitehead Decl., Ex. 4 - 3
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1    and any entities GEO has the legal right to control. GEO further objects to this instruction to the
2    extent that the request includes GEO attorneys and, therefore, improperly seeks information
3    protected by the attorney-client privilege, the work product doctrine, the common interest
4    privilege, and/or any other applicable privileges or immunities.
5           GEO objects to Instruction 3 to the extent that Plaintiff seeks production of documents
6    outside of the possession, custody, or control of any entity that GEO has the legal right to control.
7    GEO further objects to this instruction to the extent it requires disclosure of documents destroyed
8    or disposed of that would have been responsive to one of Chen’s document requests. GEO is
9    under no obligation to detail documents disposed in the regular course of business before the duty
10   to preserve attached in this case. GEO has taken reasonable steps to preserve documents and
11   information in the conduct of litigation, as is required under applicable case law and Fed. R. Civ.
12   P. 37(e).
13          GEO objects to Instruction 4 to the extent that it imposes obligations beyond those
14   required by the Federal Rules of Civil Procedure. GEO will respond with objections in
15   accordance with Fed. R. Civ. P. 33(b) and 34(b). Likewise, GEO will assert any claims of
16   privilege in accordance with Fed. R. Civ. P. 26(b)(5).
17          GEO objects to Instruction 5 to the extent it imposes obligations beyond those required by
18   the Federal Rules of Civil Procedure. GEO will assert any claims of privilege in accordance with
19   Fed. R. Civ. P. 26(b)(5).
20          GEO objects to Instruction 6 as it states a procedure for the production of documents,
21   including the labelling of documents, that is unduly burdensome and not required under the
22   Federal Rules of Civil Procedure. Pursuant to Fed. R. Civ. P. 34(b)(2)(E), GEO will produce
23   documents as they are kept in the usual course of business, as they were ordinarily maintained or
24   in a reasonably useable format.
25          GEO objects to Instruction 7 that requires “the entire document must be produced, along
26   with any attachments, drafts, and ‘non-identical’ copies.” GEO objects as this may require the
27   production of information subject to privilege, privacy or security restrictions. GEO reserves the
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     PRODUCTION.                                                                  253-566-2510 ph
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                                                                                        Whitehead Decl., Ex. 4 - 4
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1    right to redact information that is confidential and not responsive as well as to redact for
2    privilege. GEO may also produce documents redacted, inter alia, to protect the privacy and
3    safety of individuals identified in the documents, detainees, GEO staff, and others.
4           GEO objects to Instruction 8 as confusing and ambiguous. Pursuant to Fed. R. Civ. P.
5    34(b)(2)(E), GEO will produce email and other electronically stored information in a reasonably
6    useable format. Specifically, GEO will produce electronically stored information as single page
7    TIFF images with extracted text and a load file. GEO will produce redacted documents with
8    OCR text to protect the redacted information.
9           GEO objects to Instruction 10 as unduly burdensome. Pursuant to Fed. R. Civ. P.
10   34(b)(2)(E), GEO will produce Excel spreadsheets in native form and is willing to meet and
11   confer regarding the production format of other documents on an individual case by case basis.
12          GEO objects to Instruction 11 as unduly burdensome and not proportional to the needs of
13   the case as GEO will respond and produce documents relating to the period during which Chao
14   Chen was a detainee at the NWDC as that is the only period during which Chen sustained any
15   alleged harm and Chen has no standing to seek redress on behalf of others at this time. Without
16   waiver of any rights or other objections, GEO will supplement any responses to Plaintiff’s First
17   Interrogatories and Requests for Production, should they be necessary, in accordance with Fed. R.
18   Civ. P. 26(e).
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     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
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                                                                               joan@3brancheslaw.com

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1          RESPONSE TO INTERROGATORIES AND REQUESTS FOR PRODUCTION
2    INTERROGATORY NO. 1:              Please identify each person answering or supplying
     information used in answering these discovery requests.
3
     ANSWER TO NO. 1:               GEO objects to this Interrogatory on the grounds that it requests
4
     information protected by the attorney-client privilege, the work product doctrine, the common
5
     interest privilege, and/or any other applicable privileges or immunities. Subject to and without
6
     waiving the forgoing objections, GEO states that: James Black, Warden Clark, Bruce Scott,
7
     Alisha Singleton, and Michael Heye supplied information used in answering these discovery
8
     requests.
9
     INTERROGATORY NO. 2:           Please state the number of detainees who participated in
10   the Voluntary Work Program at NWDC during the class period.
11   ANSWER TO NO. 2:               GEO objects to this Interrogatory on the grounds that a class has
12   not been certified in this case and, as such, no class period has been set and Chen does not have
13   standing at this time to seek redress of any alleged harm other than to himself. Further, GEO is
14   unable to provide an accurate number of detainees who participated in the Voluntary Work
15   Program at NWDC during an undefined period of time. Should a class be certified in this case at
16   a later date, GEO is willing to meet and confer regarding additional information it will provide in
17   response to this Interrogatory, subject to ICE approval and court orders.
18   INTERROGATORY NO. 3:               Identify all class members as defined above. Your
     answer should also include the Alien Registration Number (a/k/a “A-Number”) of each class
19   member.
20   ANSWER TO NO. 3:               GEO objects to this Interrogatory on the grounds that a class has
21   not been certified in this case and, as such, there are no “class members.” GEO objects to
22   producing Alien Registration Numbers (“A-Numbers”) of detainees, as this information is private
23   and Plaintiff already knows his own A-Number. Should a class be certified in this case at a later
24   date, GEO is willing to meet and confer regarding additional information it will provide in
25   response to this Interrogatory, subject to ICE approval and court orders.
26   INTERROGATORY NO. 4:               For each class member identified in response to
     Interrogatory No. 3, please describe in detail the following:
27
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                                                                                       Whitehead Decl., Ex. 4 - 6
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1                    a.     dates of detention at NWDC (i.e., start and end of detention, if
                            applicable) for each class member;
2                    b.     hours worked as part of the Voluntary Work Program for each week
3                           of the class period;
                     c.     compensation provided in each week during the class period, broken
4                           down by category of compensation.

5    ANSWER TO NO. 4:               GEO objects to this Interrogatory on the grounds that a class has

6    not been certified in this case and, as such, there are no “class members.” Finally, GEO objects to

7    the use of the phrase “category of compensation” as it is vague and ambiguous. Subject to the

8    above stated objections, GEO produced Mr. Chen’s Resident Account Summary as an initial

9    disclosure at GEO-CHEN 000769 – 781 that shows $1.00 per day payments for his participation

10   within his housing unit as he was not cleared to leave his unit because he had been convicted of

11   FIRST    DEGREE        ASSAULT,       FOURTH     DEGREE       ASSAULT,         SECOND           DEGREE

12   UNLAWFUL FIREARM POSSESSION, AND FELONY HARASSMENT (GEO CHEN 000554

13   – INITIAL DISCLOSURES) making him a known risk of harm to others. GEO put the $1.00 on

14   his account whether he performed a task in ten minutes, or an hour. ICE is the custodian of

15   Mr. Chen’s detention file and would be the appropriate agency to verify his actual dates of

16   detention. In the records ICE provided to GEO there is a record indicating ICE had Mr. Chen

17   enter the facility on October 21, 2014 and ICE released him from the NWDC on March 1, 2016.

18   Production of this record would require ICE approval or an order from the court. Should a class

19   be certified in this case at a later date, GEO is willing to meet and confer regarding additional

20   information it will provide in response to this Interrogatory subject to the direction of ICE and/or

21   court orders.

22   REQUEST FOR PRODUCTION A:                    Please produce all documents that relate to your
     answer to the preceding Interrogatory.
23
     RESPONSE:              GEO objects to this Request as overly broad and unduly burdensome based
24
     on Plaintiff’s own definition of “relate to” that would lead to the production of documents with no
25
     relationship whatsoever to the claims or defenses in the case.            For example, paperwork
26
     concerning a detainee’s release may be “related to” the detainee’s dates of detention at NWDC,
27
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1    but have no bearing on the claims or defenses in this case. GEO also objects to this Request to
2    the extent that it seeks that information protected by the attorney-client privilege, the work
3    product doctrine, the common interest privilege, and/or any other applicable privileges or
4    immunities. Subject to and without waiving the above stated objections, GEO will conduct a
5    reasonable search of documents on active electronic systems and reasonably accessible paper
6    storage areas that GEO reasonably believes contain potentially relevant information within its
7    possession, custody, and control, and produce, to the extent they exist and following entry of a
8    reasonable protective order, relevant, responsive, non-privileged documents, sufficient to show
9    Plaintiff’s date of detention, hours worked as part of the Voluntary Work Program, and
10   compensation provided to him. Should a class be certified in this case at a later date, GEO is
11   willing to meet and confer regarding additional information it will provide in response to this
12   Request subject to ICE approval and court orders. GEO will withhold documents subject to the
13   above stated objections.
14   INTERROGATORY NO. 5:                Describe in detail your policies, practices, and
     procedures referring or relating to the Voluntary Work Program at NWDC. At a minimum,
15   your answer should describe the following:
                  a.     detainee eligibility requirement(s);
16                b.     detainee sign up procedure(s);
17                c.     minimum skill or experience requirement(s) for any work assignment,
                         task, or other duty;
18                d.     your selection process for eligible detainees;
                  e.     how work assignments are made;
19                f.     type(s) of work, tasks, or other duties assigned;
                  g.     detainee compensation;
20
                  h.     disciplinary process related to poor performance;
21                i.     supervision of detainees.

22   ANSWER TO NO. 5:               GEO objects to this Interrogatory on the grounds that it is

23   compound and comprises of nine different areas of inquiry, GEO will count this inquiry

24   accordingly when determining whether Chen has exceeded the maximum allowable

25   interrogatories as permitted under Fed. R. Civ. P. 33(a)(1). GEO objects to this Interrogatory on

26   the grounds that it requests information that is outside the scope of discovery and not relevant to

27   the claims or defenses in this case. For example, information about what cleaning supplies a
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                                                                              joan@3brancheslaw.com

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1    detainee uses on specific tasks might be “related to” the Voluntary Work Program, but it has no
2    bearing on the claims or defenses in this case. Subject to and without waiving GEO’s above
3    stated objections, GEO answers as follows: A detainee would be eligible to participate in the
4    Voluntary Work Program if the detainee were detained at the NWDC and volunteered to
5    participate. If a detainee presents a high security threat like Mr. Chen, then the detainee may be
6    limited to activities in the housing unit. Mr. Chen participated in the program as a Pod Porter
7    who would assist with the Pod clean up between 11:30 p.m. and 1:30 a.m. in 2015. In 2014 he
8    selected clean-up activities during the day like cleaning the microwaves, sinks, and counters at
9    least once a day after lunch, sweep and mop the upper and lower tier floors, clean the walls,
10   tables, table legs, and bolts, clean cell doors, sliders and frames, and other similar type tasks. Any
11   detainee who wants to participate sends a request to classification. Classification clears the
12   detainee to participate and has the detainee sign a voluntary work program agreement form. The
13   detainee chooses what the detainee wants to do and then starts participating in the program when
14   there is space for a new person. GEO has policy No. 5.1.2, which ICE approves, that applies to
15   the NWDC and applied during the time Chen was detained there. GEO also refers Plaintiff to
16   Section 5.8 of ICE’s publicly available Performance-Based National Detention Standards, which
17   describe federally-established standards for the Voluntary Work Program. In practice, the staff
18   and detainees carry out daily activities to make sure the secure side of the facility is picked up and
19   clean, people are well fed, well groomed, and physically active. Should a class be certified in this
20   case at a later date, GEO is willing to meet and confer regarding additional information it will
21   provide in response to this Interrogatory subject to ICE approval and court orders.
22   REQUEST FOR PRODUCTION B:                     Please produce all documents that relate to your
     answer to the preceding Interrogatory.
23
     RESPONSE:              GEO objects to this Request as violating Fed. R. Civ. P. 26(b)(1) because it
24
     asks for information that is outside the scope of discovery. Specifically, the breadth of the
25
     request would include documents that have no bearing on the claims or defenses in this case. For
26
     example, cleaning supply order forms may be “related to” tasks detainees perform as part of the
27
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1    Voluntary Work Program, but they have no bearing on the claims or defenses in this case. GEO
2    also objects to this Request to the extent that it seeks that information protected by the attorney-
3    client privilege, the work product doctrine, the common interest privilege, and/or any other
4    applicable privileges or immunities. Subject to and without waiving the above stated objections,
5    GEO will conduct a reasonable search of documents on active electronic systems and reasonably
6    accessible paper storage areas that GEO reasonably believes contain potentially relevant
7    information within its possession, custody, and control, and produce relevant, responsive, non-
8    privileged documents, to the extent they exist and subject to an appropriate protective order,
9    sufficient to show the policies, practices, and procedures referring or relating to the Voluntary
10   Work Program during the time Plaintiff was detained at NWDC. Should a class be certified in
11   this case at a later date, GEO is willing to meet and confer regarding additional information it will
12   provide in response to this Request subject to the Court’s defined class period and subject to ICE
13   approval and court orders. . GEO will withhold documents subject to the above stated
14   objections.
15   REQUEST FOR PRODUCTION C:              Please produce all documents that relate or refer
     to the Voluntary Work Program at NWDC, including, but not limited to, all internal emails,
16   memoranda, or other documents discussing the Voluntary Work Program.
17   RESPONSE:              GEO objects to this Request as violating Fed. R. Civ. P. 26(b)(1) because it
18   asks for information that is outside the scope of discovery. Specifically, the breadth of the
19   request would include documents that have no bearing on the claims or defenses in this case. For
20   example, emails that merely mention the term “Voluntary Work Program” or “VWP” as a
21   program available at the NWDC may indeed “relate to” the Voluntary Work Program but have no
22   bearing on the claims or defenses in this case. Moreover, GEO objects to this Request on the
23   grounds that it is unduly burdensome and not proportional to the needs of the case as it seeks any
24   and all documents ever created that might relate or refer to the Voluntary Work Program at
25   NWDC. GEO also objects to this Request to the extent that it seeks that information protected by
26   the attorney-client privilege, the work product doctrine, the common interest privilege, and/or any
27   other applicable privileges or immunities. Subject to and without waiving the above stated
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1    objections, GEO will conduct a reasonable search of documents on active electronic systems and
2    reasonably accessible paper storage areas that GEO reasonably believes contain potentially
3    relevant information within its possession, custody, and control, and produce relevant, responsive,
4    non-privileged documents, to the extent they exist and subject to an appropriate protective order,
5    referring or relating to the Voluntary Work Program while the Plaintiff was detained at NWDC.
6    Should a class be certified in this case at a later date, GEO is willing to meet and confer regarding
7    additional information it will provide in response to this Request subject to the Court’s defined
8    class period and subject to ICE approval and court orders.. GEO will withhold documents subject
9    to the above stated objections.
10   INTERROGATORY NO. 6:                 Please describe in detail the system or procedure you
     use(d) for tracking or recording work hours and work assignments performed by detainees
11   participating in the Voluntary Work Program, and identify all documents use(d) for
     tracking or recording such hours and assignments (e.g., punched timecards, handwritten
12   time sheets, or recording by a computerized time records). For all documents identified,
     please state the following:
13                  a.      The policies or procedures in effect for preserving the integrity of the
                            documents;
14
                    b.      The retention period(s) for such documents;
15                  c.      All persons having custody of such records.

16   ANSWER TO NO. 6:               GEO objects to this Interrogatory on the grounds that it violates

17   Fed. R. Civ. P. 26(b)(1) because it seeks information outside of the scope of discovery and which

18   has no bearing on the claims and defenses in this case. For example, the Interrogatory seeks

19   policies and procedures “for preserving the integrity of the documents.” Plaintiff has not

20   asserted, or is there any reason to believe, that the integrity of GEO-held documents is at issue.

21   GEO further objects to this Interrogatory as unduly burdensome and not proportional to the needs

22   of the case as it seeks to identify “all persons having custody of such records.” Subject to and

23   without waiving GEO’s above stated objections, GEO answers as follows: Any documents

24   specific to a detainee is placed in a detainee file, which is then transferred to ICE for retention.

25   ICE controls the retention of detainee files. ICE has Mr. Chen’s detention file and has provided it

26   to GEO, but has not authorized its release without a court order or further authorization. Mr.

27   Chen’s history of payments was produced in early disclosures and shows his payments dating
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                                                                                joan@3brancheslaw.com

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1    back to 10/22/14. He has a Pod Porter Job Description in his detention file that references the
2    requirements that he complete a “voluntary worker agreement form” and have a “memo” turned
3    in before being placed on the pod porter list to be paid. Mr. Chen selected Grave Cleaner duties
4    that are described as assisting with clean-up after lights out between 2330 and 0130 (11:30 p.m. -
5    1:30 a.m.).
6    REQUEST FOR PRODUCTION D:                     Please produce all documents that relate to your
     answer to the preceding Interrogatory.
7
     RESPONSE:              GEO objects to this Request because it violates Fed. R. Civ. P. 26(b)(1) by
8
     seeking documents outside of the scope of discovery. Specifically, as it seeks documents relating
9
     to the procedures for “preserving the integrity of the documents.” Such information is not
10
     relevant to the claims or defenses in this case. Furthermore, GEO objects to this Request as not
11
     proportional because discovery of such information is of no importance to resolving the issues of
12
     the case and the burden of the proposed discovery outweighs its likely benefit. Finally, GEO
13
     objects to this Request on the grounds that it requests information protected by the attorney-client
14
     privilege, the work product doctrine, the common interest privilege, and/or any other applicable
15
     privileges or immunities. Subject to and without waiving the above stated objections, GEO will
16
     conduct a reasonable search of documents on active electronic systems and reasonably accessible
17
     paper storage areas that GEO reasonably believes contain potentially relevant information within
18
     its possession, custody, and control, and produce relevant, responsive, non-privileged documents,
19
     to the extent they exist and following entry of a reasonable protective order, documents sufficient
20
     to show the retention period and custodians for documents relevant to the claims and defenses in
21
     this case. Should a class be certified in this case at a later date, GEO is willing to meet and confer
22
     regarding additional information it will provide in response to this Request subject to the Court’s
23
     defined class period and subject to ICE approval and court orders. GEO will withhold responsive
24
     documents subject to the above stated objections.
25
     INTERROGATORY NO. 7:              Please describe in detail how you determined the offset
26   amount of $17.12 per hour described on page three of your Rule 26 Initial Disclosures dated
     December 20, 2017.
27
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1    ANSWER TO NO. 7:               GEO also objects to this Interrogatory to the extent that it seeks that
2    information protected by the attorney-client privilege, the work product doctrine, the common
3    interest privilege, and/or any other applicable privileges or immunities. Subject to and without
4    waiving the above stated objections, GEO answers as follows: The formula is described on the
5    disclosure so this question is impossible to answer with any additional explanation. The numbers
6    come from the budget and actual expenditures of the NWDC. GEO will produce the spreadsheets
7    that total the expenditures.
8    REQUEST FOR PRODUCTION E:                     Please produce all documents that relate to your
     answer to the preceding Interrogatory.
9
     RESPONSE:              GEO objects to this Request on the grounds that it requests information
10
     protected by the attorney-client privilege, the work product doctrine, the common interest
11
     privilege, and/or any other applicable privileges or immunities. Subject to and without waiving
12
     the above stated objections, GEO will conduct a reasonable search of documents on active
13
     electronic systems and reasonably accessible paper storage areas that GEO reasonably believes
14
     contain potentially relevant information within its possession, custody, and control, and produce
15
     relevant, responsive, non-privileged documents, to the extent they exist and following entry of a
16
     reasonable protective order, documents sufficient to show the total actual expenditures of the
17
     NWDC during the time Chen was a detainee at the NWDC. Should a class be certified in this
18
     case at a later date, GEO is willing to meet and confer regarding additional information it will
19
     provide in response to this Request subject to the Court’s defined class period and subject to ICE
20
     approval and court orders. GEO will withhold documents subject to the above stated objections.
21
     REQUEST FOR PRODUCTION F:                  Please produce copies of your financial
22   statements or other documents reflecting both budgeted and actual expenditures on
     detainee room, clothing, food, laundry, utilities, and any other expenses for which you now
23   seek an offset, from September 26, 2013, to the present.
24   RESPONSE:              GEO objects to this Request to the extent that it seeks financial statements
25   or other documents reflecting “budgeted” expenditures that are not relevant to the claims or
26   defenses in this case. GEO also objects to this Request on the grounds that it is unduly
27   burdensome, as it would require GEO to continuously supplement and produce additional
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1    information without a defined end date. Subject to and without waiving GEO’s above stated
2    objections, GEO will conduct a reasonable search of documents on active electronic systems and
3    reasonably accessible paper storage areas that GEO reasonably believes contain potentially
4    relevant information within its possession, custody, and control, and produce relevant, responsive,
5    non-privileged documents, to the extent they exist and following entry of a reasonable protective
6    order, sufficient to show actual expenditures on detainee room, clothing, food, laundry, utilities,
7    and any other expenses for which GEO seeks an offset during the time period Chen was detained
8    at the NWDC. Should a class be certified in this case at a later date, GEO is willing to meet and
9    confer regarding additional information it will provide in response to this Request subject to the
10   Court’s defined class period and subject to ICE approval and court orders. GEO will withhold
11   documents subject to the above stated objections.
12   REQUEST FOR PRODUCTION G:                 Please produce copies of your financial
     statements, both annually and quarterly, including by not limited to certified financials (i.e.,
13   income statement, cash flow, balance sheet) and disclosures to state and federal taxing
     authorities, from September 26, 2013, to present.
14
     RESPONSE:              GEO objects to this Request as outside of the scope of discovery, as it
15
     seeks documents that are not relevant to the claims or defenses in this case. Furthermore, GEO
16
     objects to this Request as it is not proportionate to the needs of the case, as discovery of GEO’s
17
     financial statements does nothing to resolve any issue in the case and any burden on GEO would
18
     outweigh the negligible benefit Plaintiff would receive from the information. Finally, GEO
19
     objects to this Request on the grounds that it requests information protected by the attorney-client
20
     privilege, the work product doctrine, the common interest privilege, and/or any other applicable
21
     privileges or immunities. GEO will not be producing documents in response to this Request and
22
     is withholding responsive documents subject to the above stated objections.
23
     INTERROGATORY NO. 8:                Please identify any and all detainees at NWDC from
24   whom you have sought reimbursement for your costs or expenditures related to their
     detainment (e.g., room, clothing, food, laundry, utilities).
25
     ANSWER TO NO. 8:               GEO objects to this Interrogatory as beyond the scope of discovery
26
     to the extent that it seeks information relating to detainees other than the named Plaintiff, Chao
27
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1    Chen. GEO objects on the grounds that this Interrogatory is overly broad, as it is not limited by
2    time or by class, never mind that such a class has yet to be certified. Finally, GEO objects to this
3    Interrogatory on the grounds that it requests information protected by the attorney-client
4    privilege, the work product doctrine, the common interest privilege, and/or any other applicable
5    privileges or immunities. GEO answers the interrogatory as follows: No one. GEO has not to
6    date been forced to address offsets.
7    INTERROGATORY NO. 9:               Please describe in detail any investments in equipment
     or materials you received from, or require of, detainees who participate in the Voluntary
8    Work Program.
9    ANSWER TO NO. 9:               GEO objects to this Interrogatory on the grounds that it is vague
10   and ambiguous in that it seeks information regarding “any investments in equipment or materials”
11   received from detainees participating in the Voluntary Work Program. This interrogatory
12   presumes that an independent contractor factor in an economic reality test would be applicable to
13   detention, which is an erroneous legal conclusion. Without waiving stated objections. None.
14   REQUEST FOR PRODUCTION H:                     Please produce all documents that relate to your
     answer to the preceding Interrogatory.
15
     RESPONSE GEO objects to this Request on the grounds that the preceding Interrogatory is
16
17   vague and ambiguous in that it seeks information regarding “any investments in equipment or

18   materials” received from detainees participating in the Voluntary Work Program. As written,

19   GEO believes there are no documents responsive to this request.
20   INTERROGATORY NO. 10:             Please describe in detail all jobs, tasks, or other duties
     performed by detainees participating in the Voluntary Work Program at NWDC that are
21   also performed by your employees or independent contractors, and identify all employees
     or independent contractors performing such jobs, tasks, or other duties.
22
     ANSWER TO NO. 10:              GEO objects to this Interrogatory as not relevant to the claims or
23
     defenses of this case to the extent that it seeks identification of specific employees or independent
24
     contractors. Subject to and without waiving GEO’s above stated objections, GEO answers as
25
     follows: GEO employees and independent contractors do not participate in the Voluntary Work
26
27
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1    Program. To the extent responsive information reveals information about staffing, this
2    information is confidential and may require ICE’s approval to disclose.
3    REQUEST FOR PRODUCTION I:                      Please produce all documents that relate to your
     answer to the preceding Interrogatory.
4
     RESPONSE:              GEO objects to this Request as seeking information outside of the scope of
5
     discovery as information relating to the identity of non-detainees performing work outside of the
6
     Voluntary Work Program is not relevant to the claims and defenses of the case. Furthermore,
7
     GEO objects on the grounds that producing the requested documents is unduly burdensome,
8
     overly broad, and not proportionate to the needs of the case as the burdens of additional discovery
9
     outweigh the negligible benefit Plaintiff will receive from the information. Subject to and
10
     without waiving GEO’s foregoing objections, GEO will conduct a reasonable search of
11
     documents on active electronic systems and reasonably accessible paper storage areas that GEO
12
     reasonably believes contain potentially relevant information within its possession, custody, and
13
     control, and produce relevant, responsive, non-privileged documents, to the extent they exist and
14
     subject to an appropriate protective order, sufficient to show the jobs, tasks, or other duties
15
     commonly held by other individuals at NWDC in addition to detainees involved in the Voluntary
16
     Work Program during the time Chen was detained at the NWDC. To the extent responsive
17
     information reveals information about staffing, this information is confidential and may require
18
     ICE’s approval to disclose. Should a class be certified in this case at a later date, GEO is willing
19
     to meet and confer regarding additional information it will provide in response to this Request
20
     subject to the Court’s defined class period and subject to ICE approval and court orders. GEO
21
     will withhold documents subject to the above stated objections.
22
     REQUEST FOR PRODUCTION J:               Please produce a copy of the job descriptions of
23   all employees and independent contractors identified in your response to Interrogatory No.
     10.
24
     RESPONSE:              Subject to and without waiving GEO’s above stated objections, GEO will
25
     conduct a reasonable search of documents on active electronic systems and reasonably accessible
26
     paper storage areas that GEO reasonably believes contain potentially relevant information within
27
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1    its possession, custody, and control, and produce relevant, responsive, non-privileged documents,
2    to the extent they exist and subject to an appropriate protective order, of descriptions for jobs,
3    tasks, or other duties commonly performed by individuals at NWDC in addition to detainees in
4    the Voluntary Work Program during the time Chen was detained at the NWDC. Should a class
5    be certified in this case at a later date, GEO is willing to meet and confer regarding additional
6    information it will provide in response to this Request subject to the Court’s defined class period
7    and subject to ICE approval and court orders. To the extent responsive information reveals
8    information about staffing, this information is confidential and may require ICE’s approval to
9    disclose. GEO will withhold documents subject to the above stated objections.
10   INTERROGATORY NO. 11:                Do you contend that detainees had an opportunity to
     work for other employers or entities during their detention at NWDC? If so, describe in
11   detail the factual basis for your contention.
12   ANSWER TO NO. 11:              Subject to and without waiving GEO’s above stated objections,
13   GEO answers as follows: Yes. Detainees who want to work in a real job may submit an
14   employment authorization (I-765 “EAD”) request to ICE or to the administrative judge in the
15   detainee’s removal proceedings for authorization to work in a position approved by ICE if
16   eligible. GEO has no control over Mr. Chen’s or any other person’s detention or employment.
17   GEO may not employ any detainee.
18   REQUEST FOR PRODUCTION K:                      Please produce all documents that relate to your
     answer to the preceding Interrogatory.
19
     RESPONSE:              Subject to and without waiving GEO’s above stated objections, GEO will
20
     conduct a reasonable search of documents on active electronic systems and reasonably accessible
21
     paper storage areas that GEO reasonably believes contain potentially relevant information within
22
     its possession, custody, and control, and produce relevant, responsive, non-privileged documents,
23
     to the extent they exist and subject to an appropriate protective order, sufficient to show any
24
     detainee opportunities for work for other employers or entities during the time Chen was detained
25
     at the NWDC. Should a class be certified in this case at a later date, GEO is willing to meet and
26
     confer regarding additional information it will provide in response to this Request subject to the
27
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1    Court’s defined class period and subject to ICE approval and court orders. GEO will withhold
2    documents subject to the above stated objections. Please see the materials produced and
3    referenced on GEO’s Motion to Dismiss.
4    INTERROGATORY NO. 12:              Please identify all persons who supervised work
     performed by detainees participating in the Voluntary Work Program during the class
5    period, including each person’s job classification and the length of time in such position.
6    ANSWER TO NO. 12:              GEO objects to this Interrogatory on the grounds that a class has
7    not been certified in this case and, as such, no class period has been set. Even if the Interrogatory
8    were not otherwise objectionable, GEO would not be able to accurately “identify all persons who
9    supervised work performed by detainees participating in the Voluntary Work Program” at NWDC
10   during an undefined period of time. In addition, GEO objects to this Interrogatory as it seeks
11   information about detainee supervision that is not relevant to the claims or defenses in this case,
12   which concern work performed as part of the Voluntary Work Program and makes no claim
13   regarding supervision of detainees. Subject to and without waiving GEO’s above stated
14   objections, GEO answers as follows: Bert Henderson is the Food Service Manager hired on
15   3/19/2007 (11 years of service). Alisha Singleton hired 9/24/2011 (17 years of service), and
16   Michael Heye hired on 10/12/2004 (14 years of service), are classification officers who are
17   primarily involved with the program. All detention officers would be responsible for overseeing
18   the participants carrying out tasks. The identification of all detention officers, their job
19   descriptions and length of service is a disproportionate discovery request as the identified officers
20   are capable of describing the activities of the VWP. Should a class be certified in this case at a
21   later date, GEO is willing to meet and confer regarding additional information it will provide in
22   response to this Request subject to the Court’s defined class period and subject to ICE approval
23   and court orders.
24   REQUEST FOR PRODUCTION L:                 Please produce all documents describing the
     work, tasks, or other duties performed, or to be performed, by detainees participating in the
25   Voluntary Work Program during the class period.
26   RESPONSE:              GEO objects to this Request on the grounds that a class has not been
27   certified in this case and, as such, no class period has been set. GEO objects to this Request as it
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1    is overly broad, unduly burdensome and disproportionate as defined under Rule 26(b)(1), because
2    it requests all documents describing the work tasks, when documents sufficient to show such
3    information would be reasonable and proportionate to produce and provide Chen with the
4    information he is seeking that is relevant to the claims and defenses in the case. Subject to and
5    without waiving GEO’s above stated objections, GEO will conduct a reasonable search of
6    documents on active electronic systems and reasonably accessible paper storage areas that GEO
7    reasonably believes contain potentially relevant information within its possession, custody, and
8    control, and following entry of a reasonable protective order, produce relevant, responsive, non-
9    privileged documents, sufficient to show the work, tasks, or other duties the Plaintiff performed
10   by participating in the Voluntary Work Program at NWDC. Should a class be certified in this
11   case at a later date, GEO is willing to meet and confer regarding additional information it will
12   provide in response to this Request subject to the Court’s defined class period and subject to ICE
13   approval and court orders. GEO will withhold documents subject to the above stated objections.
14   REQUEST FOR PRODUCTION M:                  Please produce all documents that relate or refer
     to your employee or independent contractor staffing plans or work schedules, or both, at
15   NWDC during the class period. This includes, but is not limited to, documents related to
     daily, weekly, or monthly staffing plans or schedules, employee rosters and work
16   assignments, and the units or areas to which each employee or independent contractor was
     assigned.
17
     RESPONSE:              GEO objects to this Request as overly broad, unduly burdensome, and
18
     disproportionate as it seeks information wholly unrelated the claims and defenses of this case.
19
     Not only does this Request not request documents related to the Voluntary Work Program at
20
     NWDC, it does not seek information related to NWDC detainees like the Plaintiff at all. GEO
21
     also objects to this because the negligible benefit of this information to the Plaintiff is far
22
     outweighed by the security risks incurred by disclosing the information. GEO further objects to
23
     this Request on the grounds that a class has not been certified in this case and, as such, no class
24
     period has been set. GEO will not be producing documents in response to this Request and is
25
     withholding responsive documents subject to the above stated objections.
26
27
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1    INTERROGATORY NO. 13:                  Do you contend that Plaintiff’s claims stated within the
     complaint are not “typical,” as that term is used in Fed. R. Civ. P. 23(a)(3), of the putative
2    class? If so, describe in detail the factual basis for your contention.
3    ANSWER TO NO. 13:               GEO objects to this Interrogatory on the grounds that it requests

4    information protected by the attorney-client privilege, the work product doctrine, the common

5    interest privilege, and/or any other applicable privileges or immunities. GEO further objects to

6    this Interrogatory on the grounds that a class has not been certified in this case as yet so it is

7    impossible to determine whether Chen’s claims are typical of any putative class that may be

8    certified at a future date. Should a class be certified in this case at a later date, GEO is willing to

9    meet and confer regarding additional information it will provide in response to this Interrogatory

10   subject to the Court’s defined class period subject to ICE approval and court orders.

11   REQUEST FOR PRODUCTION N:                       Please produce all documents that relate to your
     answer to the preceding Interrogatory.
12
     RESPONSE:               GEO objects to this Request on the grounds that it requests information
13
     protected by the attorney-client privilege, the work product doctrine, the common interest
14
     privilege, and/or any other applicable privileges or immunities. GEO further objects to this
15
     Request on the grounds that a class has not been certified in this case as yet so it is impossible to
16
     determine whether Chen’s claims are typical of any putative class that may be certified at a future
17
     date. GEO will not be producing any documents in response to this Request and is withholding
18
     documents subject to the above stated objections. Should a class be certified in this case at a later
19
     date, GEO is willing to meet and confer regarding additional information it will provide in
20
     response to this Request subject to the Court’s defined class period and subject to ICE approval
21
     and court orders.
22
     INTERROGATORY NO. 14:                 Do you contend that Plaintiff is not an “adequate”
23   representative, as that term is used in Fed. R. Civ. P. 23(a)(4), of the proposed class? If so,
     describe in detail the factual basis for your contention.
24
     ANSWER TO NO. 14:               GEO objects to this Interrogatory on the grounds that it requests
25
     information protected by the attorney-client privilege, the work product doctrine, the common
26
     interest privilege, and/or any other applicable privileges or immunities. GEO further objects to
27
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1    this Interrogatory on the grounds that a class has not been certified in this case as yet so it is
2    impossible to determine whether Chen would be an adequate representative of any putative class
3    that may be certified at a future date. Should a class be certified in this case at a later date, GEO
4    is willing to meet and confer regarding additional information it will provide in response to this
5    Interrogatory subject to the Court’s defined class period subject to ICE approval and court orders.
6    REQUEST FOR PRODUCTION O:                       Please produce all documents that relate to your
     answer to the preceding Interrogatory.
7
     RESPONSE:               GEO objects to this Request on the grounds that it requests information
8
     protected by the attorney-client privilege, the work product doctrine, the common interest
9
     privilege, and/or any other applicable privileges or immunities. GEO further objects to this
10
     Request on the grounds that a class has not been certified in this case as yet so it is impossible to
11
     determine whether Chen would be an adequate representative of any putative class that may be
12
     certified at a future date. GEO is not producing documents in response to this Request and is
13
     withholding documents subject to the above stated objections. Should a class be certified in this
14
     case at a later date, GEO is willing to meet and confer regarding additional information it will
15
     provide in response to this Request subject to the Court’s defined class period and subject to ICE
16
     approval and court orders.
17
     INTERROGATORY NO. 15:             Do you contend that a conflict exists between Plaintiff
18   and the class members with respect to recovery of additional compensation for detainees
     who participated in the Voluntary Work Program? If so, describe in detail the factual basis
19   for your contention.
20   ANSWER TO NO. 15:               GEO objects to this Interrogatory on the grounds that it requests
21   information protected by the attorney-client privilege, the work product doctrine, the common
22   interest privilege, and/or any other applicable privileges or immunities. GEO further objects to
23   this Request on the grounds that a class has not been certified in this case as yet so it is impossible
24   to determine whether there would be a conflict between Chen and any putative class members of
25   a class that may be certified at a future date. Should a class be certified in this case at a later date,
26   GEO is willing to meet and confer regarding additional information it will provide in response to
27
     CHAO CHEN v. THE GEO GROUP, INC.                                         III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                       Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                   1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR           - 21 -                        Fircrest, WA 98466
     PRODUCTION.                                                                     253-566-2510 ph
                                                                                 joan@3brancheslaw.com

                                                                                          Whitehead Decl., Ex. 4 - 21
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1    this Request subject to the Court’s defined class period and subject to ICE approval and court
2    orders.
3    REQUEST FOR PRODUCTION P:                      Please produce all documents that relate to your
     answer to the preceding Interrogatory.
4
     RESPONSE:              GEO objects to this Request on the grounds that it requests information
5
     protected by the attorney-client privilege, the work product doctrine, the common interest
6
     privilege, and/or any other applicable privileges or immunities. GEO further objects to this
7
     Request on the grounds that a class has not been certified in this case as yet so it is impossible to
8
     determine whether there would be a conflict between Chen and any putative class members of a
9
     class that may be certified at a future date. GEO will not be producing documents in response to
10
     this Request and is withholding documents subject to the above stated objections. Should a class
11
     be certified in this case at a later date, GEO is willing to meet and confer regarding additional
12
     information it will provide in response to this Request subject to the Court’s defined class period
13
     and subject to ICE approval and court orders.
14
     REQUEST FOR PRODUCTION Q:               Please produce all documents that relate or refer
15   to comments or complaints by any detainee about the Voluntary Work Program, and any
     responses thereto.
16
     RESPONSE:              GEO objects to this Request on the grounds that it is unduly burdensome
17
     and outside of the scope of discovery, as it seeks “all documents that relate or refer to” comments
18
     by any detainee about the Voluntary Work Program. Moreover, GEO objects to this Request as
19
     overly broad and unduly burdensome because it is unbounded by any time constraint that would
20
     be relevant to Chen’s claims. Subject to and without waiving GEO’s above stated objections,
21
     GEO will conduct a reasonable search of documents on active electronic systems and reasonably
22
     accessible paper storage areas that GEO reasonably believes contain potentially relevant
23
     information within its possession, custody, and control, and following entry of a reasonable
24
     protective order, GEO will produce relevant, responsive, non-privileged documents that contain
25
     comments or complaints by any detainee at NWDC about the Voluntary Work Program during
26
     the time Chen was a detainee at the NWDC. Should a class be certified in this case at a later date,
27
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     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                 1019 Regents Blvd. Ste. 204
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     PRODUCTION.                                                                   253-566-2510 ph
                                                                               joan@3brancheslaw.com

                                                                                        Whitehead Decl., Ex. 4 - 22
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1    GEO is willing to meet and confer regarding additional information it will provide in response to
2    this Request subject to the Court’s defined class period and subject to ICE approval and court
3    orders. GEO is withholding documents subject to the above stated objections.
4    REQUEST FOR PRODUCTION R:                Please produce any documents on which Plaintiff
     is named, including his complete personnel file, if any.
5
     RESPONSE:              GEO objects to this Request as it violates Fed. R. Civ. P. 26(b)(1) by
6
     requesting information that is outside the scope of discovery. Specifically, the request asks for
7
     any document with Plaintiff’s name on it, when the claims and defenses in this case relate solely
8
     to Plaintiff’s participation in the Voluntary Work Program. Subject to and without waiving
9
     GEO’s above stated objections, GEO will produce Plaintiff’s detainee file subject to ICE
10
     approval and or a court order. GEO will also, after a reasonable search of documents on active
11
     electronic systems and reasonably accessible paper storage areas that GEO reasonably believes
12
     contain potentially relevant information within its possession, custody, and control, and following
13
     entry of a reasonable protective order, produce any relevant, responsive, non-privileged document
14
     containing Plaintiff’s name regarding the Voluntary Work Program at NWDC. GEO is
15
     withholding documents subject to the above stated objections.
16
     REQUEST FOR PRODUCTION S:               Please produce all write-ups or disciplinary
17   records for any detainee stemming from participation in the Voluntary Work Program.
18   RESPONSE:              GEO objects to this Request as violating Fed. R. Civ. P. 26(b)(1) as it asks
19   for documents as outside the scope of discovery. Specifically, the request asks for write-ups or
20   disciplinary records for any detainee stemming from participation in the VWP, which bear no
21   relation to the claims or defenses in this case. Moreover, Chen presently has no standing to
22   inquire into the write-ups or disciplinary action of other detainees. Subject to and without
23   waiving GEO’s above stated objections, GEO will, after a reasonable search of documents on
24   active electronic systems and reasonably accessible paper storage areas that GEO reasonably
25   believes contain potentially relevant information within its possession, custody, and control, and
26   following entry of a reasonable protective order, produce any relevant, responsive, non-privileged
27   write-ups or disciplinary records (to the extent they exist) relating to Chen’s participation in the
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                     Joan K. Mell
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     PRODUCTION.                                                                   253-566-2510 ph
                                                                               joan@3brancheslaw.com

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1    Voluntary Work Program. GEO will be withholding documents subject to the above stated
2    objections.
3    REQUEST FOR PRODUCTION T:               Please produce all documents containing or
     reflecting communications between you and ICE referring or relating to this lawsuit.
4
     RESPONSE:              GEO objects to this Request on the grounds that it requests information
5
     protected by the attorney-client privilege, the work product doctrine, the common interest
6
     privilege, and/or any other applicable privileges or immunities. Subject to and without waiving
7
     GEO’s above stated objections, GEO will, after a reasonable search of documents on active
8
     electronic systems and reasonably accessible paper storage areas that GEO reasonably believes
9
     contain potentially relevant information within its possession, custody, and control, and following
10
     entry of a reasonable protective order, produce any relevant, responsive, non-privileged
11
     communications with ICE regarding this lawsuit. GEO may be withholding privileged
12
     documents subject to the above stated objections.
13
     REQUEST FOR PRODUCTION U:               Please produce all documents containing or
14   reflecting communications between you and ICE regarding the Voluntary Work Program
     at NWDC.
15
     RESPONSE:              GEO objects to this Request as it is overly broad and unduly burdensome
16
     to the extent that it requests all communications between GEO and ICE regarding the Voluntary
17
     Work Program, without limitations as to time or specific subject matter. Furthermore, GEO
18
     objects to this Request as duplicative and cumulative of other, more specific Requests, such as
19
     Requests W and X. Subject to and without waiving GEO’s above stated objections, GEO will
20
     conduct a reasonable search of documents on active electronic systems and reasonably accessible
21
     paper storage areas that GEO reasonably believes contain potentially relevant information within
22
     its possession, custody, and control, and following entry of a reasonable protective order, produce
23
     relevant, responsive, non-privileged documents containing or reflecting communications between
24
     GEO and ICE regarding the Voluntary Work Program at NWDC during the time period Chen was
25
     a detainee at the NWDC. Should a class be certified in this case at a later date, GEO is willing to
26
     meet and confer regarding additional information it will provide in response to this Request
27
     CHAO CHEN v. THE GEO GROUP, INC.                                     III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                   Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                               1019 Regents Blvd. Ste. 204
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     PRODUCTION.                                                                 253-566-2510 ph
                                                                             joan@3brancheslaw.com

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1    subject to the Court’s defined class period and subject to ICE approval and court orders. GEO is
2    withholding documents subject to the above stated objections.
3    REQUEST FOR PRODUCTION V:              Please produce all contracts and agreements, and
     any addenda thereto, between you and ICE related to NWDC.
4
     RESPONSE:              GEO objects to this Request as it is unbounded by time to the relevant time
5
     period relating to Chen’s detention at the NWDC. Subject to and without waiving GEO’s
6
     definition and instructions objections, GEO will conduct a reasonable search of documents on
7
     active electronic systems and reasonably accessible paper storage areas that GEO reasonably
8
     believes contain potentially relevant information within its possession, custody, and control, and
9
     produce relevant, responsive, non-privileged copies, to the extent they exist following entry of a
10
     reasonable protective order, of all bids or contracts between The GEO Group, Inc. and
11
     Immigration and Customs Enforcement (“ICE”) regarding the Northwest Detention Center in
12
     effect during the time Chen was a detainee at the NWDC. Should a class be certified in this case
13
     at a later date, GEO is willing to meet and confer regarding additional information it will provide
14
     in response to this Request subject to the Court’s defined class period and subject to ICE approval
15
     and court orders. GEO is withholding documents subject to the above stated objections.
16
     REQUEST FOR PRODUCTION W:                  Please produce all proposals made by you to ICE,
17   including any cover letters, submittal sheets, appendices, supplements, amendments, or
     addenda thereto, referring or relating to the contracts or agreements produced in response
18   to the preceding Request for Production.
19   RESPONSE:              GEO objects to this Request as seeking information outside of the scope of
20   discovery as the information sought is not relevant to the claims or defenses in this case.
21   Whatever proposals GEO made to ICE are irrelevant to the actual agreements between the two
22   entities and did not affect the programs available to Chen or the allowances provided by those
23   programs. GEO is withholding documents subject to the above stated objections and ICE’s
24   approval.
25   REQUEST FOR PRODUCTION X:               Please provide all documents referring to
     requests for reimbursement you submitted to ICE, and any responses thereto, for operating
26   the Volunteer Work Program at NWDC.
27
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28   ECF CASE NO. 17-CV-05769-RJB                                                    Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
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     PRODUCTION.                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com

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1    RESPONSE:              GEO objects to this Request on the grounds that it requests information
2    protected by the attorney-client privilege, the work product doctrine, the common interest
3    privilege, and/or any other applicable privileges or immunities. GEO objects to this Request as it
4    is unbounded by time to the relevant time period relating to Chen’s detention at the NWDC.
5    Subject to and without waiving GEO’s above stated objections, GEO will conduct a reasonable
6    search of documents on active electronic systems and reasonably accessible paper storage areas
7    that GEO reasonably believes contain potentially relevant information within its possession,
8    custody, and control, and produce relevant, responsive, non-privileged documents, to the extent
9    they exist and following entry of a reasonable protective order, referring to requests for
10   reimbursement GEO submitted to ICE during the detention of Chen at the NWDC. Should a
11   class be certified in this case at a later date, GEO is willing to meet and confer regarding
12   additional information it will provide in response to this Request subject to the Court’s defined
13   class period and subject to ICE approval and court orders. GEO is withholding documents
14   subject to the above stated objections.
15   REQUEST FOR PRODUCTION Y:              Please produce all versions of the NWDC
     Handbook from September 26, 2013, to present.
16
     RESPONSE:              GEO objects to this Request as the time period extends outside the relevant
17
     time period relating to Chen’s detention at the NWDC. Subject to and without waiving GEO’s
18
     above stated objections, GEO will conduct a reasonable search of documents on active electronic
19
     systems and reasonably accessible paper storage areas that GEO reasonably believes contain
20
     potentially relevant information within its possession, custody, and control, and produce relevant,
21
     responsive, non-privileged final copies, to the extent they exist and following entry of a
22
     reasonable protective order, of handbooks issued to detainees regarding the Northwest Detention
23
     Center during the time Chen was detained at the NWDC. Should a class be certified in this case
24
     at a later date, GEO is willing to meet and confer regarding additional information it will provide
25
     in response to this Request subject to the Court’s defined class period and subject to ICE approval
26
     and court orders. GEO is withholding documents subject to the above stated objections.
27
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
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     PRODUCTION.                                                                   253-566-2510 ph
                                                                               joan@3brancheslaw.com

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1    REQUEST FOR PRODUCTION Z:                Please produce all documents reflecting any and
     all payments made by you to detainees as part of the Voluntary Work Program during the
2    class period.
3    RESPONSE:              GEO objects to this Request on the grounds it is overly broad because a

4    class has not been certified in this case and, as such, no class period has been set. In addition,

5    Chen does not have standing at this time to seek redress of any alleged harm other than to

6    himself. Subject to and without waiving GEO’s above stated objections, GEO will conduct a

7    reasonable search of documents on active electronic systems and reasonably accessible paper

8    storage areas that GEO reasonably believes contain potentially relevant information within its

9    possession, custody, and control, and produce relevant, responsive, non-privileged documents, to

10   the extent they exist and subject to an appropriate protective order, sufficient to show payments

11   made by GEO to Plaintiff as part of the Voluntary Work Program. Should a class be certified in

12   this case at a later date, GEO is willing to meet and confer regarding additional information it will

13   provide in response to this Request subject to the Court’s defined class period and subject to ICE

14   approval and court orders. GEO is withholding documents subject to the above stated objections.

15   REQUEST FOR PRODUCTION AA:                Please produce all training and orientation
     documents used to train detainees participating in the Voluntary Work Program.
16
     RESPONSE:              GEO objects to this Request as it is overly broad because it is unbounded
17
     by time. Chen does not have standing at this time to seek redress of any alleged harm other than
18
     to himself. Subject to and without waiving GEO’s above stated objections, GEO will conduct a
19
     reasonable search of documents on active electronic systems and reasonably accessible paper
20
     storage areas that GEO reasonably believes contain potentially relevant information within its
21
     possession, custody, and control, and produce relevant, responsive, non-privileged final copies, to
22
     the extent they exist and following entry of a reasonable protective order, of training and
23
     orientation documents used to train Plaintiff at NWDC while participating in the Voluntary Work
24
     Program. Should a class be certified in this case at a later date, GEO is willing to meet and confer
25
     regarding additional information it will provide in response to this Request subject to the Court’s
26
27
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                     Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                 1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR          - 27 -                       Fircrest, WA 98466
     PRODUCTION.                                                                   253-566-2510 ph
                                                                               joan@3brancheslaw.com

                                                                                        Whitehead Decl., Ex. 4 - 27
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1    defined class period and subject to ICE approval and court orders. GEO is withholding
2    documents subject to the above stated objections.
3    REQUEST FOR PRODUCTION AB:             Please produce an organizational chart sufficient
     to show your entire organization at NWDC during the class period.
4
     RESPONSE:              GEO objects to this Request as it requests information outside that which is
5
     relevant to the claims and defenses in this case because it seeks information “during the class
6
     period.” There is no class certified in this case and therefore Chen has no standing to seek redress
7
     of any alleged harms other than to himself. GEO objects to this Request on the grounds that it is
8
     vague and ambiguous to the extent that it seeks information regarding “your entire organization at
9
     NWDC.” Subject to and without waiving GEO’s above stated objections, GEO will conduct a
10
     reasonable search of documents on active electronic systems and reasonably accessible paper
11
     storage areas that GEO reasonably believes contain potentially relevant information within its
12
     possession, custody, and control, and produce relevant, responsive, non-privileged final copies, to
13
     the extent they exist and following entry of a reasonable protective order, setting forth the
14
     organizational structure of NWDC during the time Chen was a detainee at the NWDC. Should a
15
     class be certified in this case at a later date, GEO is willing to meet and confer regarding
16
     additional information it will provide in response to this Request subject to the Court’s defined
17
     class period and subject to ICE approval and court orders. GEO is withholding documents
18
     subject to the above stated objections.
19
     REQUEST FOR PRODUCTION AC:                    Please produce all documents identified in your
20   Rule 26 Initial Disclosures.
21   RESPONSE:              GEO will produce all documents identified in its Rule 26 Initial
22   Disclosures to the extent those documents have not already been produced and subject to an
23   appropriate protective order.
24   INTERROGATORY NO. 16:                Please describe in detail what steps you have taken to
     preserve all relevant, or potentially relevant, electronically stored information, including
25   but not limited to documents on any and all computer hard drives, servers, cloud based
     storage platform, and mobile devices concerning the claims alleged in the complaint.
26
27
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                                                                               joan@3brancheslaw.com

                                                                                        Whitehead Decl., Ex. 4 - 28
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1    ANSWER TO NO. 16:              GEO objects to this Interrogatory as outside of the scope of
2    discovery as the information it seeks is not relevant to the claims or defenses in the case.
3    Plaintiffs are not entitled to inquire into GEO’s discovery process absent good cause. GEO has
4    complied with all of its obligations under the Federal Rules of Civil Procedure and has taken
5    appropriate measures to preserve information on relevant data sources.
6    INTERROGATORY NO. 17:          With respect to each affirmative defense you asserted in
     your Answer:
7                 a. Describe in detail all facts upon which you base the affirmative
                     defense,
8
                  b. Identify all persons who have knowledge of those facts,
9                 c. Identify all documents that support your affirmative defense.

10   ANSWER TO NO. 17:              GEO objects to this Interrogatory because it exceeds the number of

11   interrogatories (including discrete subparts) permitted under Fed. R. Civ. P. 33(a)(1). GEO

12   further objects to this Request because it is compound and contains three discrete subparts that

13   exceed the number of interrogatories (including discrete subparts) permitted under Fed. R. Civ. P.

14   33(a)(1). It further seeks GEO to provide Chen a dress rehearsal of its trial strategies. Should

15   Chen wish to revise Interrogatories 5 and 17 to focus on a specific piece of information in each,

16   GEO will reconsider answering this Interrogatory (and any other interrogatories up to the

17   prescribed 25).

18   REQUEST FOR PRODUCTION AD:                 Please produce a copy of all documents that
     relate to your answer to the preceding Interrogatory.
19
     RESPONSE:              GEO objects to this Request on the grounds that it requests information
20
     protected by the attorney-client privilege, the work product doctrine, the common interest
21
     privilege, and/or any other applicable privileges or immunities. Subject to and without waiving
22
     GEO’s above stated objections, GEO will conduct a reasonable search of documents on active
23
     electronic systems and reasonably accessible paper storage areas that GEO reasonably believes
24
     contain potentially relevant information within its possession, custody, and control, and produce
25
     relevant, responsive, non-privileged final copies, to the extent they exist and following entry of a
26
27
     CHAO CHEN v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
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                                                                               joan@3brancheslaw.com

                                                                                        Whitehead Decl., Ex. 4 - 29
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1    reasonable protective order, relating to the affirmative defenses GEO is asserting. GEO is
2    withholding documents subject to the above stated objections.
3    REQUEST FOR PRODUCTION AE:               Please produce all documents containing,
     reflecting, or summarizing any statements taken by anyone acting directly or indirectly on
4    your behalf from any person concerning the allegations in the complaint.
5    RESPONSE:              GEO objects to this Request as it requests information outside the scope of
6    discovery, because it seeks “any statements taken by anyone acting directly or indirectly on your
7    behalf from any person concerning the allegations in the complaint.” There is no class certified in
8    this case and therefore Chen has no standing to seek redress of any alleged harms other than to
9    himself. GEO objects to this Request as overly broad and unduly burdensome as information
10   related to other detainees is outside the claims Chen is permitted to make at this time. Moreover,
11   GEO objects to the request insofar as it seeks information created by persons outside the control
12   of GEO. GEO objects to this Request on the grounds that it requests information protected by the
13   attorney-client privilege, the work product doctrine, the common interest privilege, and/or any
14   other applicable privileges or immunities. Subject to and without waiving GEO’s above stated
15   objections, GEO will conduct a reasonable search of documents on active electronic systems and
16   reasonably accessible paper storage areas that GEO reasonably believes contain potentially
17   relevant information within its possession, custody, and control, and produce relevant, responsive,
18   non-privileged final copies, to the extent they exist and following entry of a reasonable protective
19   order, reflecting or summarizing any statements relating to the alleged injury to Chen concerning
20   allegations made by Chen in the complaint taken by personnel within the legal control of GEO.
21   GEO is withholding documents subject to the above stated objections. Should a class be certified
22   in this case at a later date, GEO is willing to meet and confer regarding additional information it
23   will provide in response to this Request subject to the Court’s defined class period and subject to
24   ICE approval and court orders. GEO is withholding documents subject to the above stated
25   objections.
26
27
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 1   Dated: March 2, 2018                          III BRANCHES LAW PLLC
 2
 3
                                                   By___________________________________
 4                                                    Joan K. Mell, WSBA #21319
                                                      1019 Regents Blvd. Ste. 204
 5                                                    Fircrest, WA 98466
                                                      253-566-2510 (P)
 6                                                    281-664-4643 (F)
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15
                                                   ATTORNEYS FOR DEFENDANT
16                                                 THE GEO GROUP, INC.
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1
                                    UNITED STATES DISTRICT COURT
2                                  WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
3
     CHAO CHEN, individually and on behalf of all            No. 17-cv-05769-RJB
4    those similarly situated,
                                                             DEFENDANT THE GEO GROUP,
5                   Plaintiff,                               INC.’S RESPONSES TO
                                                             PLAINTIFF CHAO CHEN’S FIRST
6           v.                                               INTERROGATORIES AND
                                                             REQUESTS FOR PRODUCTION
7    THE GEO GROUP, INC.,
8                   Defendant.
9

10
11                                             VERIFICATION

12   My name is James Black. I am capable of making this verification. I have reviewed these

13   objections and answers to Plaintiff’s interrogatories, and based on my personal knowledge and

14   information obtained from other persons, the facts stated herein are true and correct to the best of
15
     my knowledge, information, and belief. I declare under penalty of perjury that the foregoing is
16
     true and correct.
17

18                                                           _______________________________
                                                             Affiant
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     CHAO CHEN v. THE GEO GROUP, INC.                                      III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                    Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                                1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR         - 32 -                       Fircrest, WA 98466
     PRODUCTION.                                                                  253-566-2510 ph
                                                                              joan@3brancheslaw.com

                                                                                       Whitehead Decl., Ex. 4 - 32
         Case 3:17-cv-05769-RJB Document 45-4 Filed 03/23/18 Page 34 of 34




1                                       CERTIFICATE OF SERVICE
2          I, Joseph Fonseca, hereby certify as follows:
3           I am over the age of 18, a resident of Pierce County, and not a party to the above action.
4    On March 2, 2018, I electronically served the above GEO's Responses to Plaintiff Chao Chen's
5    First Interrogatories and Requests For Production, via Email to the following:
     Schroeter, Goldmark & Bender                   The Law Office of R. Andrew Free
6
     Adam J. Berger, WSBA No. 20714                 Andrew Free
7    Lindsay L. Halm, wSBA No. 37141                P.O. Box 90568
     Jamal N. Whitehead, WSBA No. 39818             Nashville, TN 37209
8    810 Third Avenue, Suite 500                    andrew@immigrationcivilrights.com
     Seattle, WA 98104
9    berger@sgb-law.com
10   halm@sgb-law.com
     whitehead@sgb-law.com
11
     Sunbird Law, PLLC                              Norton Rose Fulbright US LLP
12   Devin Theriot-Orr                              Charles A. Deacon (Pro Hac Vice)
     1001 Fourth Avenue, Suite 3200                 300 Convent St.
13   Seattle, WA 98154                              San Antonio, TX 78205
14   devin@sunbird.law                              charlie.deacon@nortonrosefulbright.com

15   Norton Rose Fulbright US LLP
     Mark Emery (Pro Hac Vice)
16   799 9th St. NW, Suite 1000
     Washington, DC 20001-4501
17   (202)-662-0210
18   mark.emery@nortonrosefulbright.com
           I certify under penalty of perjury under the laws of the State of Washington that the above
19
     information is true and correct.
20
           DATED this 2nd day of March, 2018 at Fircrest, Washington.
21
22

23          Joseph Fonseca, Paralegal

24
25
26
27
     CHAO CHEN v. THE GEO GROUP, INC.                                     III BRANCHES LAW, PLLC
28   ECF CASE NO. 17-CV-05769-RJB                                                   Joan K. Mell
     DEFENDANT GEO GROUP, INC.’S RESPONSE TO                               1019 Regents Blvd. Ste. 204
     FIRST INTERROGATORIES AND REQUESTS FOR         - 33 -                      Fircrest, WA 98466
     PRODUCTION.                                                                 253-566-2510 ph
                                                                             joan@3brancheslaw.com

                                                                                      Whitehead Decl., Ex. 4 - 33
